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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:16-cv-08684-SVW-AFM                                          Date      May 14, 2019
 Title             Luis Lorenzo Vargas v. City of Los Angeles et al




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/a
 Proceedings:                 IN CHAMBERS ORDER


()       Case previously closed in error. Make JS-5.

(X)      Case should have been reopened on entry [188], dated April 15, 2019. Make JS-6.

()       Case settled but may be reopened if settlement is not consummated within days. Make JS-5.

()       Other:

()       Entered:




                                                                                                   :
                                                               Initials of Preparer
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